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                                                                       Page 1

1            IN THE UNITED STATES DISTRICT COURT
2                        DISTRICT OF MINNESOTA
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6
7       CIVIL NO.:          18-1776 (JRT/HB)
8
9
10      IN RE PORK ANTITRUST LITIGATION
11
12      This Document Relates to:
13      All Actions
14
15
16
17
18
19                         HIGHLY CONFIDENTIAL
20          REMOTE VIDEO DEPOSITION TESTIMONY OF:
21                                SHANE MILLER
22                                May 26, 2022
23
24
25

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                                                                    Page 319

1            Q.      I'm sorry, you said thousands of
2       pork producers?
3            A.      Independent hog producers.                            I'm
4       sorry.       Independent hog producers that
5       supply us with pigs into our pork
6       production facilities.
7                    And further, those agreements
8       are refreshed on an annual basis.
9       They're mutually agreed upon.                          And they
10      adjust with time based on maybe the age
11      of the hog producer or if he has a
12      succession plan or not.                     And then over
13      time, they're renegotiated.
14           Q.      So given Tyson procured almost
15      all of its hogs from independent farmers,
16      did Tyson have the power to meaningfully
17      suppress the supply of hogs?
18                   MR. LIFVENDAHL:                Objection,
19      form, foundation, calls for a legal
20      conclusion.
21           A.      No.      We did not have the power
22      to do that.           We are heavily dependent on
23      hog producers to bring us the supply we
24      need to run our plants and to service the
25      customers that we -- that we sell

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                                                                    Page 320

1       products to.
2            Q.      Did the hog producers make their
3       own decisions of level of supply or --
4                    MR. LIFVENDAHL:                Objection,
5       calls for speculation.
6                    MS. ROHRBAUGH:               Strike -- strike
7       that.
8            Q.      Did the independent hog
9       producers or farmers -- well, let me
10      strike that.
11                   Did you as Tyson control the
12      amount of hogs that independent hog
13      farmers raise?
14                   MR. LIFVENDAHL:                Objection,
15      form, foundation.
16           A.      No, we do not.
17           Q.      Based on your knowledge of Agri
18      Stats, do you believe that any of the
19      Agri Stats reports Tyson used allowed
20      Tyson to determine its competitors' past
21      or future pork production levels?
22                   MR. LIFVENDAHL:                Objection to
23      form.
24           A.      No.
25           Q.      To the best of your knowledge,

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1       did anyone at Tyson use Agri Stats to
2       monitor whether Tyson's competitors were
3       expanding or reducing their total pork
4       production?
5                    MR. LIFVENDAHL:                Objection,
6       foundation.
7            A.      No, we did not.
8            Q.      Do you have an understanding of
9       Tyson's broad strategy regarding pork
10      exports?
11                   MR. LIFVENDAHL:                Just
12      (inaudible).
13                   THE COURT REPORTER:                   I'm sorry,
14      I didn't hear what you said, Eric.
15                   MR. LIFVENDAHL:                Tiffany, could
16      we get a time period as to their
17      strategy?
18           Q.      Oh.      For pork exports for the
19      2009 through 2018.
20                   MR. LIFVENDAHL:                Thank you.
21           A.      I'm sorry, what was the -- can
22      you ask that question --
23           Q.      Yeah.
24           A.      -- one more time, please.
25           Q.      Do you have an understanding of

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1       Tyson's broad strategy regarding pork
2       exports from 2009 to 2018?
3            A.      Yes, I -- yes, I do.
4            Q.      And can you describe that?
5            A.      Yes.       Our -- our growth in
6       exports was centered around trying to
7       value-up products, some products that
8       aren't consumed in the United States,
9       other products where we have customers
10      globally looking to have another source
11      of supply that were looking for
12      high-quality pork.                 And we had to raise
13      the bar from a quality perspective and
14      change out -- change out some of our
15      processes in our plants to bring in new
16      equipment to be able to get to the level
17      of quality that the customers in Asia
18      were looking for.
19           Q.      Was Tyson's strategy on exports
20      between 2009 and 2018 ever motivated by a
21      desire to reduce domestic supply and
22      drive up the cost domestically -- I'm
23      sorry, the price domestically?
24                   MR. LIFVENDAHL:                Objection to
25      form.

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